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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                        Page 1 of     3     Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                    FILED
                                                                                                                   Oct 19, 2020
                                                                                                               CLERK, U.S. DISTRICT COURT
                                                                                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:20-cr-00175-DAD-BAM
CAROL MALDONALDO VASQUEZ,                                                 )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place
      U.S. MAGISTRATE JUDGE BARBARA A. McAULIFFE in Courtroom 8 (unless another courtroom is designated)

      on                                               OCTOBER 28, 2020 at 1:00 PM
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.


TO U.S. MARSHAL OFFICE: DEFENDANT IS ORDERED RELEASE on
Tuesday, October 20, 2020 at 8:00 AM to at which time defendant will be released to an
approved family member for direct transportation to the WestCare of California Inc.,
inpatient substance abuse program in Fresno, California.



(Copies to:       Defendant (through Pretrial)               PRETRIAL SERVICES                 US ATTORNEY       US MARSHAL)
                Case
 AO 199B (Rev. 09/08-   1:20-cr-00175-NODJ-BAM
                      EDCA [Fresno]) Additional Conditions of Release Document
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 MALDONADO VASQUEZ, Carol
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                         ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

      (6)       The defendant is placed in the custody of:

                   Name of person or organization             Martin Lopez Lopez

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                              /s/Martin Lopez Lopez
                   SIGNED: ________________________________
                                     CUSTODIAN
      (7)       The defendant must:
                (a) report on a regular basis to the following agency:
                     Pretrial Services and comply with their rules and regulations;
                (b) report telephonically to the Pretrial Services Agency on the first working day following your release from
                     custody;
                (c) reside at a location approved by the PSO, and not move or be absent from this residence for more than 24 hrs.
                     without prior approval of PSO; travel restricted to Eastern and Southern Districts of California, unless otherwise
                     approved in advance by PSO;
                (d) report any contact with law enforcement to your PSO within 24 hours;
                (e) cooperate in the collection of a DNA sample;
                (f) not associate or have any contact with co-defendants, unless in the presence of counsel or otherwise approved in
                     advance by the PSO;
                (g) maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
                (h) not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                     dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                     currently under your control;
                (i) submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of the
                     costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
                (j) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription
                     by a licensed medical practitioner; and you must notify Pretrial Services immediately of any prescribed
                     medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
                (k) participate in a program of medical or psychiatric treatment including treatment for drug or alcohol dependency,
                     as approved by the PSO; you must pay all or part of the costs of the counseling services based upon your ability
                     to pay, as determined by the PSO;
                (l) participate in the substance abuse treatment program at WestCare California Inc., inpatient facility, and comply
                     with all the rules and regulations of the program. You must remain at the inpatient facility until released by the
                     pretrial services officer. A responsible party, approved by Pretrial Services, must escort you to all required court
                     hearings and escort you back to the inpatient facility upon completion of the hearing;
                (m) remain at WestCare California Inc. an additional 30 days (post expected release date of November 23, 2020);
                (n) participate in the Better Choices court program and comply with all the rules and regulations of the program. You
                     must remain in the program until released by a pretrial services officer. In accordance with this condition, you
                     must appear before the Honorable Erica P. Grosjean, courtroom 10, on November 18, 2020, at 10:00 am.;
                (o) clear your outstanding warrants within 120-days from your release;
                (p) not apply for or obtain a passport or any other traveling documents during the pendency of this case;
                (q) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                     release, the following sum of money or designated property: a $3,000 cash bond
                (r) your cash bond must be posted no later than October 26, 2020;
                (s) upon successful completion of WestCare California Inc., participate in the following Location Monitoring
                     program component and abide by all the requirements of the program, which will include having a location
                     monitoring unit installed in your residence and a radio frequency transmitter device attached to your person. You
                     must comply with all instructions for the use and operation of said devices as given to you by the Pretrial Services
                     Agency and employees of the monitoring company. You must pay all or part of the costs of the program based
                     upon your ability to pay as determined by the PSO; HOME DETENTION: You must remain inside your
                     residence at all times except for employment; education; religious services; medical, substance abuse, or mental
                     health treatment; attorney visits; court appearances; court-ordered obligations; or other essential activities pre-
                     approved by the PSO. Essential activities include DMV appointments, banking needs, or other activities that
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       cannot                                Document
              be completed by another person on your behalf;82
                                                             and, Filed 10/19/20 Page 3 of 4


    USMS SPECIAL INSTRUCTIONS:
   (t)   have your release on bond delayed until October 20, 2020, at 8:00 a.m. at which time you will be released to
    an    approved family member for direct transportation to the WestCare of California Inc., inpatient substance abuse
          program in Fresno, California.
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            CAROL MALDONALDO VASQUEZ




X



    10/19/2020

                               BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
